Case 1:22-cv-08478-VSB Document 40-9 Filed 02/20/23 Page 1 of 15




                Exhibit I
         Case 1:22-cv-08478-VSB Document 40-9 Filed 02/20/23 Page 2 of 15




       On or Off the Blockchain? Insights on Off-Chaining
                     Computation and Data
                                    Jacob Eberhardt, Stefan Tai



      To cite this version:
    Jacob Eberhardt, Stefan Tai. On or Off the Blockchain? Insights on Off-Chaining Computation and
    Data. 6th European Conference on Service-Oriented and Cloud Computing (ESOCC), Sep 2017, Oslo,
    Norway. pp.3-15, �10.1007/978-3-319-67262-5_1�. �hal-01677610�




                                   HAL Id: hal-01677610
                           https://hal.inria.fr/hal-01677610
                                       Submitted on 8 Jan 2018




    HAL is a multi-disciplinary open access               L’archive ouverte pluridisciplinaire HAL, est
archive for the deposit and dissemination of sci-     destinée au dépôt et à la diffusion de documents
entific research documents, whether they are pub-     scientifiques de niveau recherche, publiés ou non,
lished or not. The documents may come from            émanant des établissements d’enseignement et de
teaching and research institutions in France or       recherche français ou étrangers, des laboratoires
abroad, or from public or private research centers.   publics ou privés.


       Distributed under a Creative Commons Attribution| 4.0 International License
Case 1:22-cv-08478-VSB Document 40-9 Filed 02/20/23 Page 3 of 15




               On or Off the Blockchain?
    Insights on Off-Chaining Computation and Data

                            Jacob Eberhardt and Stefan Tai

                          Information Systems Engineering (ISE)
                                   TU Berlin, Germany
                               {je,st}@ise.tu-berlin.de



          Abstract. The potential for blockchains to fundamentally transform
          how organizations produce and capture value is huge and very real. Prac-
          tical applications dealing with nearly any type of digital asset demon-
          strate this capacity. Blockchain-based application architectures benefit
          from a set of unique properties including immutability and transparency
          of cryptographically-secured and peer-recorded transactions, which have
          been agreed upon by network consensus. Blockchain-based applications,
          however, may also suffer from high computational and storage expenses,
          negatively impacting overall performance and scalability. In this paper,
          we report on lessons learned and insights gained from a set of experi-
          mental blockchain projects, focusing on off-chaining: How to move com-
          putation and data off-the-chain, without compromising the properties
          introduced and benefits gained by using blockchains in the first place.


    1   Introduction
    Blockchains are a combination of different computing and economics concepts,
    predominantly including peer-to-peer networks, asymmetric cryptography, con-
    sensus protocols, decentralized storage, decentralized computing and smart con-
    tracts, and incentive mechanisms. The synthesis of these concepts positions
    blockchains as a new technology and as a programmable platform and network at
    the same time. Blockchains introduce unique properties including immutability
    and transparency of cryptographically-secured and peer-recorded transactions,
    which have been agreed upon by network consensus. As such, the potential as-
    sociated with blockchain to fundamentally transform how organizations produce
    and capture value is huge – and very real. While initially discussed especially in
    the financial services sector, there are practical applications today dealing with
    nearly any type of digital asset, ranging from asset provenance to peer-to-peer
    commerce. Establishing trustless interactions and business disintermediation re-
    main major objectives when using blockchains.
       Over the past two years, we have conducted a set of blockchain projects
    at the Information Systems Engineering research group at TU Berlin, mostly
    experimental projects that focus on a particular application challenge and which
    have been carried out in collaboration with industry partners. Further, we are
    conducting foundational research on blockchain technology and platforms, taking
Case 1:22-cv-08478-VSB Document 40-9 Filed 02/20/23 Page 4 of 15




    a distributed systems and data management perspective. In both settings, the
    question of on-chaining versus off-chaining is recurring: What exactly has to be
    on the chain and what can be off the chain, while retaining the overall properties
    and benefits associated with blockchains?
        On-chain data – in the form of confirmed transactions organized in ordered
    blocks – and on-chain code – in the form of programs written in a general-
    purpose, Turing-complete language – require validation and consensus by net-
    work peers and result in append-only changes to the blockchain as a shared
    datastore that cannot be reversed. Transaction validation, consensus protocols,
    and decentralized program execution may, however, describe a communication
    and execution overhead. And they simply do take time. In addition, miners (that
    is, nodes that validate transactions and propose new blocks) typically charge
    fees, thereby incurring financial costs. Overall, scalability of the blockchain-
    based system may suffer. Bitcoin currently has a limit of 7 transactions per
    second; Ethereum has a limit of about 15 transactions per second. Furthermore,
    anything on the (public) blockchain is not inherently anonymous, but on the
    contrary purposely visible; privacy and confidentiality are not guaranteed for
    on-chain transactions.
        The objective for off-chaining data and computation is to reduce or to over-
    come such limitations. By moving data and computation elsewhere off the block-
    chain, for example, to another datastore, server, or third party, the blockchain
    “footprint” obviously is reduced. However, the fundamental properties of block-
    chains and blockchain-based applications, may be compromised to different de-
    grees when doing so. They may even be potentially prohibitively violated when
    using naive off-chaining approaches. After all, the system should remain “trust-
    less” in the sense that no explicit trust is required.
        In this paper, we report on first insights gained on off-chaining computation
    and data. We present five off-chaining patterns and discuss the context, principle
    idea, and implementation for each.


    2   Blockchains and Smart Contracts
    In a nutshell, blockchains are distributed peer-to-peer systems which implement
    a trustless shared public append-only transaction ledger [14].

    Blockchains. Bitcoin, the first implementation of such a system, was proposed
    in 2008 by Satoshi Nakamoto [10]. The goal which led to the creation of the
    Bitcoin protocol was the design of a digital currency which allows the transfer of
    digital value fully peer-to-peer without relying on a trusted intermediary. To im-
    plement such a decentralized cryptocurrency, the system combines transactions
    secured by asymmetric cryptography with a consensus algorithm to decide on
    the transaction order within the network. Peers in the network can validate in-
    dividual transactions by checking cryptographic signatures. In addition to that,
    however, a global order of the transactions has to be decided on to prevent double
    spending of digital funds. For that, as a main innovation of the Bitcoin system,
Case 1:22-cv-08478-VSB Document 40-9 Filed 02/20/23 Page 5 of 15




    the proof-of-work consensus protocol was developed which allocates the right to
    add transactions to the network in proportion to the computational effort spent
    to secure the network. For efficiency, multiple transactions are grouped into a
    block. These blocks are then ordered by consensus. Each block references its
    predecessor, which implies a chain data structure – the blockchain.
        Extending Bitcoins idea of peer-to-peer value transfer, Ethereum, a trustless
    computing platform, was proposed in 2014 [9, 16]. Ethereum adds a turing com-
    plete and stateful programming language to the blockchain idea, which enables
    the execution of complex code without trusting a server or central party. Trust
    is replaced by validating each program execution on every peer in the network
    and agreeing on an outcome.

    Smart Contracts. These programs executed in a trustless and tamper-proof
    manner in the network are referred to as Smart Contracts. Note, that Smart
    Contracts need to be deterministic as otherwise peers could disagree on the
    results of valid executions. Hence, e.g., filesystem and network access are not
    permitted. While the term may imply a close connection to legal contracts,
    smart contracts have a much wider range of use cases and can be applied where
    automatically executed complex conditional logic is required. Hence, they can
    be imagined as self executing autonomous agents.

    3   The Need for Off-Chaining Computation and Data
    Over the last two years, we gained extensive experiences during proof-of-concept
    implementations of blockchain-based applications prototypes. We motivate off-
    chaining insights by discussing exemplary challenges for two of these applica-
    tions. While all prototypes developed at TU Berlin have been realized on the
    Ethereum platform [9], we consider our findings to be representative for all of
    today’s public blockchain implementations.
        As a first application, we created a fair and manipulation-resistant chess
    game on the Ethereum platform [1].
        Today, online gaming relies on a trusted intermediary which runs games and
    ensures players obey the rules. However, this intermediary needs to be trusted
    to not cheat or steal funds. To eliminate that trust, we implemented the chess
    logic as well as data structures required to persist the game state in a smart con-
    tract. Conceptually, that already solves the problem: Players send moves to the
    contract, which modifies game state persisted internally for valid moves. After a
    valid move, the contract checks end game conditions and pays out the winner if
    a condition is met. Checking end game conditions, however, is computationally
    expensive. All potential moves have to be calculated and verified to check the
    check mate condition. This is not possible in a smart contract as it violates the
    complexity upper bound for on-chain transactions.
        Three things can be learned from that:
     1. We need to find a way to perform the end-game check off chain, on the client
        side, without impacting the blockchain’s trustlessness property.
Case 1:22-cv-08478-VSB Document 40-9 Filed 02/20/23 Page 6 of 15




    2. As computations come with a fee, the end game check should be performed
       as rarely as possible. Hence, like in a physical chess game, we should have a
       player trigger the check instead of doing it after every valid move. In other
       words, we should move part of the control flow to the client side.
    3. We have to expect to reach scalability limits of blockchains when creating
       applications. This emphasizes the need for research in and development of
       off-chaining techniques.

        Another much more complex proof-of-concept was a decentralized service
    marketplace which enables trustless disintermediation between providers and
    consumers of service APIs. Using a cryptocurrency for payments, a consumer
    can buy time-constrained access to a service offered on the market place with-
    out involving a marketplace intermediary. Especially service discovery, one of the
    main building blocks of a service marketplace, posed a big challenge within the
    fully decentralized design: Data storage on blockchains is extremely expensive
    due to full replication in the peer-to-peer network. Nonetheless, a meaningful
    service discovery feature requires API descriptions to be stored. Simply pointing
    to an off-chain reference from a smart contract, e.g., a file hosted in a cloud
    storage system, is no alternative to on-chain storage. This approach would in-
    troduce trust in the storage system since the data stored could change while the
    reference remains the same. Additionally, since all data in a blockchain is stored
    on every node in the network, it is publicly visible. There is no obvious way for
    a service provider to hide some of his service descriptions from the public.
        As a direct consequence of this public visibility, there is no way to perform
    computations on private data on-chain without revealing it. Assume a consumer
    wants to prove to a provider that he has access to another provider’s API. That
    second provider could publicly provide the hashes of all tokes that give access to
    his service. Then, the consumer could simply hash his private access token and
    show the hash to the first provider, which could in turn verify it by comparing
    it to the published hashes. However, for this to be trustless, the consumer would
    need to perform the hash operation on-chain and with that reveal his private
    token. Simply computing the hash off-chain would not proof anything to the
    provider.
        Again, we derive three challenges from these findings:

    1. We need to find a way to store data off the chain without giving up its
       manipulation-resistance.
    2. As all on-chain data is publicly visible, techniques for trustless but privacy-
       preserving off-chain storage should be developed.
    3. Off-chain computations on private data which can be verified on-chain with-
       out revealing said data would augment the set of possible use cases.

       In summary, off-chaining strategies are needed to address both, functional
    limitations of and high costs incurring from on-chain computation and storage.
Case 1:22-cv-08478-VSB Document 40-9 Filed 02/20/23 Page 7 of 15




    4     Off-Chaining Patterns
    We now introduce a set of off-chaining patterns identified, which can be used
    individually or in combination to move computation and data off the blockchain.
    Each pattern aims at maintaining the key properties of blockchains and includes
    techniques to ensure that they are not compromised to an unwanted degree.

    4.1   Challenge Response Pattern
    Context: A smart contract models a state machine with well-defined final
    states. State transitions are cheap to compute, but checking whether a given
    state is a final state is expensive.

    Solution: Instead of checking whether a state is final or not in a smart contract
    on a blockchain, the same check is performed off-chain on the client side. A client
    can notify a smart contract when a final state has been reached. Other clients
    can prove claims wrong by providing a valid state transition. Using this pattern,
    the computation never has to be performed on-chain.




                            Fig. 1. Challenge Reponse Pattern




    Example: The end game condition for chess is too expensive to check on-chain.
    The players, however, can easily check the condition off-chain. Hence, instead
    of checking the end game condition in a smart contract, a player simply claims
    check mate. If the claim was false, his opponent can simply prove him wrong
    by submitting a valid move. If the claim was true and the opponent cannot
    submit a valid move, the winner is paid out. Figure 2 gives an overview of the
    full challenge response protocol for chess also considering draws and timeouts.
    For a more detailed description, we refer to [1, 2].

    Discussion: This pattern allows computations to be off-chained efficiently in
    scenarios where smart contracts act as state-machines. Since it allows for com-
    plex operations to be moved completely off-chain and with that circumvents
Case 1:22-cv-08478-VSB Document 40-9 Filed 02/20/23 Page 8 of 15




                   Fig. 2. Challenge Response Pattern applied for Chess



    the complexity upper-bound for on-chain transactions, it can extend possible
    use cases and potentially lead to cost savings. Note though, that the pattern
    increases the overall amount of on-chain transactions, which requires a careful
    calculation of costs. Also, increased availability of the parties involved in the
    smart contract implementing the pattern is required, since the use of timeouts
    is essential to ensure progress.


    Implementation: This pattern does not require additional technologies besides
    smart contracts. For an exemplary implementation of this pattern, refer to [2].


    4.2   Off-chain Signatures Pattern

    Context: Two network participants know that they will perform a set of trans-
    actions in the future. They want to reduce the cost of these transactions or want
    to hide them from other network participants.
Case 1:22-cv-08478-VSB Document 40-9 Filed 02/20/23 Page 9 of 15




    Solution: Together, the two participants specify a smart contract including a
    function, which applies an external state given as argument to the contract state.
    This function includes a signature check to ensure both participants agree with
    the state change. Only if valid signatures of both participants are supplied with
    a requested new state, the new state is applied. This contract is deployed to the
    blockchain and both participants optionally make a deposit.
        Then, the participants perform transactions purely off-chain and peer-to-
    peer, without involving the blockchain: One participant computes a new state,
    wraps it in a transaction, signs it and sends it to his counterpart. The recipient
    then checks the new state, signs the transaction as well in case he agrees and
    sends it back to the sender.
        This transaction, signed by both parties, can now be sent to the smart con-
    tract by a participant at any point in time. After validating both signatures, the
    contract updates its state accordingly.

    Example: Participants A and B create a smart contract with a signature-
    locked state update function and deposit 50 units of cryptocurrency each. Now,
    A wants to transfer 10 units to B. For that, she creates a transaction locally,
    which includes a new state where A and B have balances of 40 and 60. She
    signs it and sends it to B, who signs it as well. Now, B can use the transaction
    to update the on-chain balance at any point in time. However, A and B could
    perform further off-chain value transfers without ever settling on-chain unless
    one side’s deposit is used up. This application of the pattern for off-chain value
    transfer is often referred to as payment channel.

    Discussion: This pattern allows efficient off-chain transactions without intro-
    ducing trust into the system. The core insight is, that the guarantee to be able
    to settle a transaction is as good as actually executing the transaction on-chain.
    Signing a new state is analogous to writing a check in a traditional financial
    transaction. Using off-chain transactions can lead to significant cost savings as
    transaction fees only apply for on-chain settlement. Furthermore, the pattern
    can enhance privacy and confidentiality, as all transactions but the final settle-
    ment remain hidden from the network. From a blockchain network perspective,
    this pattern helps to take load off the system and with that enhances scalability.
        There are many other applications besides simple value transfers. As shown
    in figure 3, we were able to move the core parts of the chess game off-chain by
    using this pattern. This not only helped to lower the cost of a game, but also to
    remove time dependence on block intervals.
        Since initial deposits to the smart contracts are required in most cases, es-
    tablishing contracts with many peers can lock a considerable amount of funds.
    Also, malicious participants could freeze funds by denying signatures. Hence,
    contracts should specify timeouts which trigger automatic settlement.

    Implementation: Besides on-chain smart contracts, this pattern requires a
    peer-to-peer communication channel to exchange signed off-chain transactions.
Case 1:22-cv-08478-VSB Document 40-9 Filed 02/20/23 Page 10 of 15




               Fig. 3. Off- and on-chain interactions in the chess application


    In the Ethereum ecosystem, for example, the Whisper Messaging Protocol [4] can
    be used. There are various efforts to leverage this pattern to build off-chain value
    transfer networks for existing blockchains: The lightning network [12] provides an
    implementation for the Bitcoin ecosystem, while Raiden [5] targets the Ethereum
    network.


    4.3   Content-Addressable Storage Pattern

    Context: A large amount of data is associated with a smart contract. On-chain
    storage is too expensive.


    Solution: Store the data off-chain in a content-addressable storage system and
    store the reference in the smart contract. Clients using the smart contract can
    retrieve the reference and based on that retrieve the data. Then, they can verify
    the data’s correctness by recomputing its address from itself and comparing it
    to the reference stored in the smart contract.


    Example: A smart contract encodes ownership of a piece of digital art. However,
    a piece of art would be very expensive to store on-chain due to its size. To
    solve this problem, the description is stored in a content-addressable storage
    system which stores files by their hashes. The file hash is also stored in the
    smart contract, serving as a reference to the artwork. Clients can then retrieve
    the hash of the externally stored piece of art from the contract and use it to
Case 1:22-cv-08478-VSB Document 40-9 Filed 02/20/23 Page 11 of 15




    query the storage system. The result can then simply be hashed to verify its
    correctness.




                       Fig. 4. Content-Addressable Storage Pattern


    Discussion: This pattern allows the trustless outsourcing of data to an off-
    chain storage system since a modification in the data would immediately change
    its address and with that invalidate its references.
        By applying the pattern, an application’s storage cost can be greatly reduced
    and files, which originally could not be stored on-chain in the first place, can
    now be referenced without introducing trust. Additionally, as the data retrieval
    is done on the client side from an external storage system, privacy features
    may be implemented by adding access control to that system. However, this
    requires careful considerations depending on the use case, since leaked data can
    immediately be confirmed to be authentic by recalculating its address.
        While not in scope of this pattern, the required external content-addressable
    storage system itself has to be reliable and available. In case of unavailability
    or data-loss, the blockchain-based part of the application may also become un-
    available.
        In the future, this pattern could be extended to support trustless computation
    on data stored off-chain: First, content-addressed data referenced from a smart
    contract could be sent to the contract. Then, integrity could be verified on chain.
    In case of success, the smart contract could modify the data, update its reference
    to that new data and write it to an event. An untrusted external worker could
    then write that data back to the content-addressable storage system the inputs
    were retrieved from. While theoretically interesting, we did not yet observe this
    extension. Hence, it is not part of the pattern.

    Implementation: As mentioned before, a content-addressable storage system
    is required to work in conjunction with smart contracts. Two such technologies,
    which address data by its hash and try to ensure availability and durability are
    the Interplanetary File System (IPFS) [7] and Swarm [15].
Case 1:22-cv-08478-VSB Document 40-9 Filed 02/20/23 Page 12 of 15




    4.4   Delegated Computation Pattern

    Context:

    a) A node participating in a blockchain network wants to prove a property of
       its private data without publishing it.
    b) A node wants to perform a computation that is too complex to be executed
       on-chain.


    Solution: Outsource computation to an untrusted third party and, besides the
    result, generate a proof of correct execution. Instead of executing the computa-
    tion itself, verify the proof of correct execution on-chain.




              Fig. 5. On-chain processing vs. Delegated Computation Pattern




    Example: There is an on-chain list of hashes of ID-card information which
    refers to people who are allowed to call a smart contract function. Now, anyone
    listed can prove that he has an ID-card which authorizes him to call the con-
    tract function by hashing his card information locally and supplying the result
    including a proof of correctness. The proof does not require to reveal any of the
    information on the card.


    Discussion: This pattern allows the trustless outsourcing of computation to
    untrusted parties. The third party, also called the prover, does not have to re-
    veal any private inputs or intermediate results of the proof creation. The only
    information leaked is that the prover knows all the information necessary to
Case 1:22-cv-08478-VSB Document 40-9 Filed 02/20/23 Page 13 of 15




    correctly compute the output. For that, non-interactive zero-knowledge proofs,
    more specifically zero-knowledge Succinct Non-interactive ARgument of Knowl-
    edge (zkSNARKs), can be employed [11, 8].
        Unlike with regular computations on the blockchain, this pattern allows off-
    chained computations to hide information used during execution. Hence, not
    having to expose information but the result of a computation greatly enhances
    privacy. Furthermore, the proofs can be designed in a way that the verification
    cost is independent of the complexity of the off-chained computation. Thus,
    after a complexity threshold is reached, on-chain verification of a computation
    is cheaper than its on-chain execution. This result can be leveraged to increase
    a blockchain’s throughput. Even operations exceeding the on-chain complexity
    limits for computations may still be executed off-chain using this patterns.
        The state of the art non-interactive zero-knowledge proofs require a trusted
    setup phase to be performed before proofs can be generated. This can, depending
    on the use case, introduce undesirable trust in the overall system. Additionally,
    the proof generation for a computation causes an overhead over its non-verifiable
    execution. Yet, there is neither a high level language for the convenient specifica-
    tion of off-chain computations nor are there tools for simple on-chain verification
    of proofs. Therefore, while powerful and already used in practice, this pattern
    is currently only applied in rather specific scenarios, e.g., in zCash, which is a
    Bitcoin-based blockchain which implements privacy preserving transactions [6,
    13].


    Implementation: For the verification of off-chain computations from smart
    contracts, the underlying blockchain needs to support the operations needed to
    check proofs. These can either be use case specific, or universal building blocks
    which can be used to verify any proof. While zCash directly added the verification
    logic for their specific computation to their protocol, Ethereum plans to add
    operations to support verification of arbitrary zkSNARKs with the Ethereum
    Improvement Proposals 196 and 197 [3].


    4.5   Low Contract Footprint Pattern

    Context: Changing a smart contract’s state requires an on-chain transaction.
    To incentivize the processing of a transaction by the network, a fee has to be
    paid. This fee depends on the complexity of the smart contract function called
    as well as its use of storage.


    Solution: To optimize fees, contracts should be designed in a way that mini-
    mizes the number and size of on-chain transactions. The following two techniques
    can be used to reduce the footprint.

     – Do not check conditions on-chain after a state change. Let nodes perform
       the condition check locally and trigger an on-chain check in case of success.
Case 1:22-cv-08478-VSB Document 40-9 Filed 02/20/23 Page 14 of 15




     – Optimize for writes, not reads. Reading from a smart contracts is a local
       off-chain operation and does not require an on-chain transaction. Minimize
       writes and store information free of redundancy. Compute derived data lo-
       cally during reads.


    Examples:

     – In the service marketplace application, a service provider needs to make sure
       consumers are removed from the on-chain authorization list after the time
       period the consumer paid for is over. Instead of periodically triggering or
       linking the condition check to another contract function and risking frequent
       reevaluation, he tracks the access period locally and triggers the on-chain
       check after it has elapsed. This reduces the amount of on-chain evaluations
       to one.
     – If the service provider wants to know the number of customers currently
       subscribed to his service, he should not add a counter to the smart contract.
       He can compute the number locally at any point from the authorization list.
       This saves storage space and counter update operations.


    Discussion: This pattern may not initially seem like an off-chaining approach,
    as it does not explicitly take something off the chain. However, it prevents in-
    formation to be stored or processed on-chain in the first place. Hence, this may
    be the least obvious, but the most employed and intuitive off-chaining pattern.


    Implementation: No additional components or techniques are required besides
    smart contracts to implement this pattern.


    5   Summary and Outlook

    In this paper we motivated the need for off-chain approaches to overcome lim-
    itations in today’s blockchain implementations and even more, to extend their
    functionality and to reduce usage costs. After deriving key challenges based on
    our experiences from implementing several blockchain-based applications, we
    presented five off-chaining patterns for moving computation and data off the
    blockchain, without compromising important blockchain properties, in particu-
    lar, the trustlessness property.
        We expect blockchain systems to further mature and improve with regards to
    scalability and privacy in the future by combining and implementing ideas like,
    for example, new consensus algorithms, sharding, or homomorphic encryption.
    However, we still consider off-chaining techniques to be key tools in blockchain-
    based application engineering as they introduce additional functionality and po-
    tentially significant cost benefits.
Case 1:22-cv-08478-VSB Document 40-9 Filed 02/20/23 Page 15 of 15




    References
     1. Chess on Ethereum. https://medium.com/@graycoding/lessons-learned-from-
        making-a-chess-game-for-ethereum-6917c01178b6, accessed: 2017-06-26
     2. Ethereum Chess Proof-of-Concept Implementation. https://github.com/ise-
        ethereum/on-chain-chess, accessed: 2017-06-26
     3. Ethereum Improvement Proposals (EIPs). https://github.com/ethereum/EIPs, ac-
        cessed: 2017-06-22
     4. Ethereum        Whisper      Protocol       v5.     https://github.com/ethereum/go-
        ethereum/wiki/Whisper, accessed: 2017-06-27
     5. Raiden Network. http://raiden.network/, accessed: 2017-05-12
     6. zCash. https://z.cash/, accessed: 2017-06-20
     7. Benet, J.: IPFS - content addressed, versioned, P2P file system. CoRR
        abs/1407.3561 (2014), http://arxiv.org/abs/1407.3561
     8. Bitansky, N., Canetti, R., Chiesa, A., Tromer, E.: From extractable colli-
        sion resistance to succinct non-interactive arguments of knowledge, and back
        again. In: Proceedings of the 3rd Innovations in Theoretical Computer Sci-
        ence Conference. pp. 326–349. ITCS ’12, ACM, New York, NY, USA (2012),
        http://doi.acm.org/10.1145/2090236.2090263
     9. Buterin, V.: Ethereum: A next-generation smart contract and decentralized
        application platform. https://github.com/ethereum/wiki/wiki/%5BEnglish%5D-
        White-Paper (2014)
    10. Nakamoto, S.: Bitcoin: A peer-to-peer electronic cash system (2008)
    11. Parno, B., Howell, J., Gentry, C., Raykova, M.: Pinocchio: Nearly practical verifi-
        able computation. In: Security and Privacy (SP), 2013 IEEE Symposium on. pp.
        238–252. IEEE (2013)
    12. Poon, J., Dryja, T.: The bitcoin lightning network: Scalable off-chain instant pay-
        ments. https://lightning.network (2015), accessed: 2017-05-12
    13. Sasson, E.B., Chiesa, A., Garman, C., Green, M., Miers, I., Tromer, E., Virza,
        M.: Zerocash: Decentralized anonymous payments from bitcoin. In: Security and
        Privacy (SP), 2014 IEEE Symposium on. pp. 459–474. IEEE (2014)
    14. Tai, S., Eberhardt, J., Klems, M.: Not ACID, not BASE, but SALT - a transaction
        processing perspective on blockchains. In: Proceedings of the 7th International
        Conference on Cloud Computing and Services Science - Volume 1: CLOSER,. pp.
        755–764. INSTICC, ScitePress (2017)
    15. Trón, V., Fischer, A., Nagy, D.A., Felföldi, Z., Johnson, N.: Swap, swear and swin-
        dle - incentive system for swarm (2016)
    16. Wood, G.: Ethereum: A secure decentralised generalised transaction ledger.
        Ethereum Project Yellow Paper (2014)
